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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

In re:                                                           Case No. 16-23482
         LAWRENCE T MASICLAT
         MYLENE MASICLAT
                 Debtor(s)



              CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

         Thomas H. Hooper, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 07/21/2016.

         2) The plan was confirmed on 11/15/2017.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 11/01/2019.

         6) Number of months from filing to last payment: 39.

         7) Number of months case was pending: 68.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $121,000.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank.




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Receipts:

           Total paid by or on behalf of the debtor                    $103,398.57
           Less amount refunded to debtor                                    $8.78

NET RECEIPTS:                                                                                             $103,389.79



Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                             $0.00
     Court Costs                                                                       $0.00
     Trustee Expenses & Compensation                                               $4,821.11
     Other                                                                             $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                              $4,821.11

Attorney fees paid and disclosed by debtor:                          $4,000.00



Scheduled Creditors:
Creditor                                                Claim         Claim           Claim        Principal        Int.
Name                                    Class         Scheduled      Asserted        Allowed         Paid           Paid
AMERICAN CHARTERED BANK             Unsecured            80,000.00           NA              NA            0.00         0.00
AMERICAN CHARTERED BANK             Secured              80,000.00           NA              NA            0.00         0.00
AMERICAS SERVICING CO               Unsecured             7,118.27           NA              NA            0.00         0.00
CAPITAL ONE BANK USA                Unsecured               360.00      1,053.52        1,053.52       1,053.52         0.00
CAPITAL ONE BANK USA                Unsecured               870.00        486.65          486.65         486.65         0.00
CITIMORTGAGE                        Secured              40,968.00           NA              NA            0.00         0.00
CITIMORTGAGE INC                    Secured              40,968.00           NA         3,000.00       3,000.00        29.37
CREDIT SUISSE FIRST BOSTON MORT     Unsecured             7,118.27           NA              NA            0.00         0.00
CREDIT SUISSE FIRST BOSTON MORT     Secured                    NA      51,015.53       51,015.53      51,015.53         0.00
CREDIT SUISSE FIRST BOSTON MORT     Secured             310,000.00    245,742.73      245,742.73           0.00         0.00
IL DEPT OF REVENUE                  Unsecured                  NA           0.00            0.00           0.00         0.00
IL DEPT OF REVENUE                  Priority                   NA           0.00            0.00           0.00         0.00
INTERNAL REVENUE SERVICE            Priority             24,220.07     15,262.69       15,262.69      15,262.69         0.00
LVNV FUNDING LLC                    Unsecured               537.00        537.89          537.89         537.89         0.00
LVNV FUNDING LLC                    Unsecured                72.00        204.85          204.85         204.85         0.00
PERITUS PORTFOLIO SERVICES          Secured              24,000.00     24,467.76       24,000.00      24,000.00       962.12
PERITUS PORTFOLIO SERVICES          Unsecured             8,801.00           NA           467.76         467.76         0.00
PRA RECEIVABLES MGMT                Unsecured             1,290.00      1,548.30        1,548.30       1,548.30         0.00
US BANK NA                          Unsecured                  NA            NA              NA            0.00         0.00
US BANK NA                          Secured                    NA      11,136.60            0.00           0.00         0.00
US BANK NA                          Secured                    NA      20,344.87            0.00           0.00         0.00




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 Summary of Disbursements to Creditors:
                                                                      Claim             Principal             Interest
                                                                    Allowed                 Paid                 Paid
 Secured Payments:
        Mortgage Ongoing                                        $245,742.73               $0.00                 $0.00
        Mortgage Arrearage                                       $51,015.53          $51,015.53                 $0.00
        Debt Secured by Vehicle                                  $24,000.00          $24,000.00               $962.12
        All Other Secured                                         $3,000.00           $3,000.00                $29.37
 TOTAL SECURED:                                                 $323,758.26          $78,015.53               $991.49

 Priority Unsecured Payments:
         Domestic Support Arrearage                                   $0.00               $0.00                 $0.00
         Domestic Support Ongoing                                     $0.00               $0.00                 $0.00
         All Other Priority                                      $15,262.69          $15,262.69                 $0.00
 TOTAL PRIORITY:                                                 $15,262.69          $15,262.69                 $0.00

 GENERAL UNSECURED PAYMENTS:                                      $4,298.97            $4,298.97                $0.00



 Disbursements:

          Expenses of Administration                                    $4,821.11
          Disbursements to Creditors                                   $98,568.68

 TOTAL DISBURSEMENTS :                                                                                $103,389.79



         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 03/18/2022                                  By: /s/ Thomas H. Hooper
                                                                                  Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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